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                  EXHIBIT 4
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Irpino, Avin Hawkins                                                   BartlitBeck.com
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       Re: MDL 2804 – Privilege De-designations

Dear Anthony,

        This letter supplements my correspondence of January 29 and February 18 and responds
to your letters from March 14 and March 18.

         First, you ask that “Walgreens provide a status regarding production of documents”
subject to Discovery Ruling No. 14, Part 4. As explained in my January 29 and February 18
correspondence and the cover letter accompanying WAGMDL032, Walgreens has produced the
documents subject to Special Master Cohen’s Discovery Ruling No. 14, Part 4 and its
Amendment (D.I. 1387, 1395).

       Walgreens provides the following information regarding these documents – some of
which is duplicative of information provided to you in prior correspondence.

       Control Number                 Beginning Bates               Production Volume

         EM00004445                 WAGMDL00774349                    WAGMDL031

         EM00013407                 WAGMDL00778492                    WAGMDL032

         EM00013408                 WAGMDL00778493                    WAGMDL032

         EM00013660                 WAGMDL00778497                    WAGMDL032

         EM00013661                 WAGMDL00778498                    WAGMDL032

         EM00014060                 WAGMDL00710291                    WAGMDL025

         EM00030985                 WAGMDL00710358                    WAGMDL025

         EM01473879                 WAGMDL00778522                    WAGMDL032
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         EM02380934                  WAGMDL00774723                     WAGMDL031
                                     WAGMDL00774724

         EM02647546                  WAGMDL00778537                     WAGMDL032

       Walgreens also provides the following information regarding other privilege de-
designations contained in WAGMDL032:

       Control Number                  Beginning Bates               Production Volume

          E00000186                  WAGMDL00774773                     WAGMDL032

          E00000206                  WAGMDL00774783                     WAGMDL032

         EM00013658                  WAGMDL00778494                     WAGMDL032

         EM00013659                  WAGMDL00778496                     WAGMDL032

         EM00137421                  WAGMDL00778499                     WAGMDL032

         EM00402633                  WAGMDL00778500                     WAGMDL032

         EM01025317                  WAGMDL00778501                     WAGMDL032

         EM01025318                  WAGMDL00778502                     WAGMDL032

         EM01025319                  WAGMDL00778512                     WAGMDL032

         EM01473880                  WAGMDL00778523                     WAGMDL032

         EM01943627                  WAGMDL00778525                     WAGMDL032

         EM01943628                  WAGMDL00778527                     WAGMDL032

         EM02647547                  WAGMDL00778539                     WAGMDL032

         EM02647548                  WAGMDL00778549                     WAGMDL032

         EM04240678                  WAGMDL00778559                     WAGMDL032

         EM04240679                  WAGMDL00778560                     WAGMDL032

         EM04263843                  WAGMDL00778561                     WAGMDL032
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         EM04263844                   WAGMDL00778562                       WAGMDL032


        Walgreens has also produced final documents related to the Suspicious Order Monitoring
Program Policy and Procedures for the Pharmaceutical Integrity Team (see, e.g.,
WAGMDL00245869 produced in WAGMDL0008) and DEA Suspicious Ordering – Phase 5a
(see, e.g., WAGMDL00774793, WAGMDL00774796, and WAGMDL00774799 produced in
WAGMDL032).

        Second, you provide additional challenges to Walgreens’ privilege claims and note that
you intend to provide “another round of sample challenges to Special Master Cohen for
determination based on the remaining challenges.” We are surprised by this statement. As you
acknowledge in your March 14 letter, the parties have already engaged in extensive work to
identify and downgrade documents including by engaging the Special Master where necessary.
Walgreens also notes that for the majority of challenges Plaintiffs brought to the Special Master,
the Special Master upheld Walgreens’ position.

         Many of the documents listed in your additional challenges are from privilege logs that
have been in Plaintiffs’ possession for several months and could have been addressed at an
earlier time. You provide no reason why these privilege issues cannot have been resolved by this
date, now two months after the fact discovery cut off. If there are specific issues you
nevertheless insist need to be addressed that could not have been raised earlier, Walgreens
remains open to that limited discussion.

       Finally, as I have responded to separate Plaintiffs’ counsel, Walgreens is still considering
whether to take further steps with respect to Judge Polster’s ruling on Amended Discovery
Ruling No. 14, Part 1. If not, we anticipate producing the documents subject to this ruling early
next week.

                                                 Thank you,



                                                 Sharon Desh
